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                                                                       FILED
                                                                                        IM OPEN COURT



                                                                                                -9 2019
                        IN THE UNITED STATES DISTRICT COURT
                                                                                  CLERK, U.S. DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA                             NORFOLK. VA
                                    Norfolk Division

UNITED STATES OF AMERICA


               V.                                   Criminal No. 2:19cr48

GARYA.HARTMAN,

               Defendant.


                                      PLEA AGREEMENT


       G.Zachary Terwilliger, United States Attorney for the Eastern District of Virginia;

William D. Muhr and V. Kathleen Dougherty, Assistant United States Attorneys; the defendant,

GARY A.HARTMAN;and the defendant's counsel have entered into an agreement pursuant to

Rule 11 ofthe Federal Rules of Criminal Procedure. The terms ofthe agreement are as follows:

       1.      Offense and Maximum Penalties

       The defendant agrees to waive indictment and plead guilty to a single coimt criminal

information charging the defendant with Conspiracy to Distribute Controlled Substances, in

violation of Title 21, United States Code, Sections 846 and 841(a)(1),(b)(1)(C), and

(b)(l)(E)(iii)(2). The maximum penalties for this offense are a maximum term oftwenty(20)

years ofimprisonment,a fine of$1,000,000,fijll restitution, forfeiture of assets as outlined

below, a special assessment, and a supervised release term of at least three(3) years. The

defendant imderstands that this supervised release term is in addition to any prison term the

defendant may receive, and that a violation ofa term ofsupervised release could result in the

defendant being returned to prison for the full term of supervised release.




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       2.      Detention Pending Sentencing

       The defendant understands that this case is governed by 18 U.S.C. §§ 3143(a)(2) and

3145(c). These provisions provide that ajudicial officer shall order that a person who has been

found guilty ofan offense ofthis kind be detained unless there are statutory justifications why

such person's detention would not be appropriate.

       3.      Factual Basis for the Plea


       The defendant will plead guilty because the defendant is in fact guilty ofthe charged

offense. The defendant admits the facts set forth in the statement offacts filed with this plea

agreement and agrees that those facts establish guilt ofthe offense charged beyond a reasonable

doubt. The statement offacts, which is hereby incorporated into this plea agreement, constitutes

a stipulation offacts for purposes of Section IB1.2(c)ofthe Sentencing Guidelines.

       4.      Assistance and Advice of Counsel


       The defendant is satisfied that the defendant's attorney has rendered effective assistance.

The defendant understands that by entering into this agreement, defendant surrenders certain

rights as provided in this agreement. The defendant understands that the rights ofcriminal

defendants include the following:

               a.     the right to plead not guilty and to persist in that plea;

               b.     the right to ajury trial;

               c.     the right to be represented by counsel-and if necessary have the court

                      appoint counsel- at trial and at every other stage ofthe proceedings; and

               d.     the right at trial to confi-ont and cross-examine adverse witnesses,to be

                      protected from compelled self-incrimination, to testify and present

                      evidence, and to compel the attendance of witnesses.


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       5.      Role of the Court and the Probation Office


       The defendant understands that the Court hasjurisdiction and authority to impose any

sentence within the statutory maximum described above but that the Court will determine the

defendant's actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands

that the Court has not yet determined a sentence and that any estimate ofthe advisory sentencing

range under the U.S. Sentencing Commission's Sentencing Guidelines Manual the defendant

may have received from the defendant's coimsel, the United States, or the Probation Office, is a

prediction, not a promise, and is not binding on the United States, the Probation Office, or the

Court. Additionally, pursuant to the Supreme Court's decision in United States v. Booker,543

U.S. 220(2005), the Court, after considering the factors set forth in 18 U.S.C. § 3553(a), may

impose a sentence above or below the advisory sentencing range, subject only to review by

higher courts for reasonableness. The United States makes no promise or representation

concerning what sentence the defendant will receive, and the defendant cannot withdraw a guilty

plea based upon the actual sentence.

       6.      Waiver of Appeal,FOIA and Privacy Act Rights

       The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to

appeal the sentence imposed. Nonetheless, the defendant knowingly waives the right to appeal

the conviction and any sentence within the statutory maximum described above(or the manner in

which that sentence was determined) on the groimds set forth in 18 U.S.C. § 3742 or on any

ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on

direct appeal, in exchange for the concessions made by the United States in this plea agreement.

This agreement does not affect the rights or obligations ofthe United States as set forth in 18

U.S.C. § 3742(b). The defendant also hereby waives all rights, whether asserted directly or by a
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representative, to request or receive from any department or agency ofthe United States any

records pertaining to the investigation or prosecution ofthis case, including without limitation

any records that may be sought under the Freedom ofInformation Act,5 U.S.C. § 552, or the

Privacy Act,5 U.S.C. § 552a.

       7.      Special Assessment

       Before sentencing in this case, the defendant agrees to pay a mandatory special

assessment of$100 per count ofconviction.

       8.      Payment of Monetary Penalties

       The defendant understands and agrees that, pursuant to 18 U.S.C. § 3613, whatever

monetary penalties are imposed by the Court will be due immediately and subject to immediate

enforcement by the United States as provided for in Section 3613. Furthermore, within 14 days

ofa request,the defendant agrees to provide all ofthe defendant's financial information to the

United States and the Probation Office and,ifrequested, to participate in a pre-sentencing

debtor's examination and/or complete a financial statement under penalty of perjury. If the

Court imposes a schedule ofpayments,the defendant understands that the schedule ofpayments

is merely a minimum schedule ofpayments and not the only method, nor a limitation on the

methods, available to the United States to enforce thejudgment. Until restitution is paid in full,

the defendant will be referred to the Treasury Offset Program so that any federal payment or

transfer ofreturned property to the defendant will he offset and applied to pay the defendant's

rmpaid restitution. Ifthe defendant is incarcerated, the defendant agrees to voluntarily

participate in the Bureau ofPrisons' Inmate Financial Responsibility Program, regardless of

whether the Court specifically directs participation or imposes a schedule ofpayments.
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       9.      Immunity from Further Prosecution in this District

       The United States will not further criminally prosecute the defendant in the Eastern

District of Virginia for the specific conduct described in the information or statement offacts,

except that the United States may prosecute the defendant for any crime of violence or

conspiracy to commit, or aiding and abetting, a crime of violence not charged in the information

as an offense. In such a prosecution the United States may allege and prove conduct described in

the information or statement offacts. "Crime of violence" has the meaning set forth in 18 U.S.C.

§16.

       10.     Defendant's Cooperation

       The defendant agrees to cooperate fully and truthfully with the United States, and provide

all information known to the defendant regarding any criminal activity as requested by the

government. In that regard:

               a.     The defendant agrees to testify truthfully and completely at any grand

                      juries, trials or other proceedings.

               b.     The defendant agrees to be reasonably available for debriefing and pre-

                      trial conferences as the United States may require.

               c.     The defendant agrees to provide all documents, records, writings, or

                      materials ofany kind in the defendant's possession or imder the

                      defendant's care, custody, or control relating directly or indirectly to all

                      areas ofinquiry and investigation.

               d.     The defendant agrees that, at the request ofthe United States, the

                      defendant will voluntarily submit to polygraph examinations, and that the
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                      United States will choose the polygraph examiner and specify the

                      procedures for the examinations.

               e.     The defendant agrees that the Statement ofFacts is limited to information

                      to support the plea. The defendant will provide more detailed facts

                      relating to this case during ensuing debriefings.

               f.     The defendant is hereby on notice that the defendant may not violate any

                      federal, state, or local criminal law while cooperating with the

                      government, and that the government will, in its discretion, consider any

                      such violation in evaluating whether to file a motion for a downward

                      departure or reduction ofsentence.

               g.     Nothing in this agreement places any obligation on the government to seek

                      the defendant's cooperation or assistance.

       11.     Use of Information Provided by the Defendant Under This Agreement

       The United States will not use any truthfiol information provided pursuant to this

agreement in any criminal prosecution against the defendant in the Eastem District of Virginia,

except in any prosecution for a crime of violence or conspiracy to commit, or aiding and

abetting, a crime of violence (as defined in 18 U.S.C.§ 16). Pursuant to U.S.S.G. § IB1.8, no

truthful information that the defendant provides under this agreement will be used in determining

the applicable guideline range, except as provided in Section IB 1.8(b). Nothing in this plea

agreement, however, restricts the Court's or Probation Officer's access to information and

records in the possession ofthe United States. Furthermore, nothing in this agreement prevents

the government in any way from prosecuting the defendant should the defendant knowingly

provide false, untruthful, or perjurious information or testimony, or from using information




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provided by the defendant in furtherance of any forfeiture action, whether criminal or civil,

administrative or judicial. The United States will bring this plea agreement and the full extent of

the defendant's cooperation to the attention ofother prosecuting offices if requested.

        12.     Defendant Must Provide Full, Complete and Truthful Cooperation

        This plea agreement is not conditioned upon charges being brought against any other

individual. This plea agreement is not conditioned upon any outcome in any pending

investigation. This plea agreement is not conditioned upon any result in any future prosecution

which may occur because ofthe defendant's cooperation. This plea agreement is not

conditioned upon any result in any future grand jury presentation or trial involving charges

resulting from this investigation. This plea agreement is conditioned upon the defendant

providing full, complete and truthful cooperation.

        13.     Motion for a Downward Departure

        The parties agree that the United States reserves the right to seek any departirre from the

applicable sentencing guidelines, pursuant to Section 5K1.1 ofthe Sentencing Guidelines and

Policy Statements, or any reduction ofsentence pursuant to Rule 35(b)ofthe Federal Rules of

Criminal Procedure,if, in its sole discretion, the United States determines that such a departure

or reduction ofsentence is appropriate. In addition, the defendant understands that the Court—

not the United States—^will decide what, if any, reduction in sentence is appropriate.

        14.    Forfeiture Agreement

       The defendant rmderstands that the forfeiture of assets is part ofthe sentence that must be

imposed in this case. The defendant agrees to forfeit all interests in any controlled substances-

related asset that the defendant owns or over which the defendant exercises control, directly or

indirectly, as well as any property that is traceable to, derived from,fungible with, or a substitute

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for property that constitutes the proceeds of his offense, or facilitating property or property

involved in the offense including but not limited to the following specific property: Dr. Gary A.

Hartman's Commonwealth of Virginia medical license, License Number 0401410554. The

defendant further agrees to waive all interest in the asset(s) in any administrative or judicial

forfeiture proceeding, whether criminal or civil, state or federal. The defendant agrees to consent

to the entry of orders offorfeiture for such property and waives the requirements ofFederal

Rules of Criminal Procedure 32.2 and 43(a)regarding notice ofthe forfeiture in the charging

instrument, announcement ofthe forfeiture at sentencing, and incorporation ofthe forfeiture in

the judgment. Defendant admits and agrees that the conduct described in the charging

instrument and Statement ofFacts provides a sufficient factual and statutory basis for the

forfeiture ofthe property sought by the government.

        15.     Waiver of Further Review of Forfeiture

        The defendant further agrees to waive all constitutional and statutory challenges to

forfeiture in any manner(including direct appeal, habeas corpus, or any other means)to any

forfeiture carried out in accordance with this Plea Agreement on any grounds, including that the

forfeiture constitutes an excessive fine or punishment. The defendant also waives any failure by

the Court to advise the defendant of any applicable forfeiture at the time the guilty plea is

accepted as required by Rule 1 l(b)(l)(J). The defendant agrees to take all steps as requested by

the United States to pass clear title to forfeitable assets to the United States, and to testify

truthfully in any judicial forfeiture proceeding. The defendant understands and agrees that all




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property covered by this agreement is subject to forfeiture as property facilitating illegal conduct

or property involved in illegal conduct giving rise to forfeiture.
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        16.     The Defendant's Obligations Regarding Assets Subject to Forfeiture

        Upon request by the government,the defendant agrees to identify all asspts in which the

defendant had any interest or over which the defendant exercises or exercised control, directly or

indirectly, within the past five(5) years. The defendant agrees to take all steps as requested by

the United States to obtain fi-om any other parties by any lawful means any records of assets

owned at any time by the defendant. The defendant agrees to undergo any polygraph

examination the United States may choose to administer concerning such assets and to provide

and/or consent to the release ofthe defendant's tax returns for the previous five years.

        17.    Breach of the Plea Agreement and Remedies

        This agreement is effective when signed by the defendant, the defendant's attorney, and

an attorney for the United States. The defendant agrees to entry ofthis plea agreement at the

date and time scheduled with the Court by the United States(in consultation with the defendant's

attorney). Ifthe defendant withdraws fi-om this agreement, or commits or attempts to commit

any additional federal, state or local crimes, or intentionally gives materially false, incomplete, or

misleading testimony or information, or otherwise violates any provision ofthis agreement,then:

               a.      The United States will be released fi*om its obligations under this

                       agreement, including any obligation to seek a downward departure or a

                       reduction in sentence. The defendant, however, may not withdraw the

                       guilty plea entered pursuant to this agreement;

               b.      The defendant will be subject to prosecution for any federal criminal

                       violation,including, but not limited to, peijury and obstruction ofjustice.
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                       that is not time-barred by the applicable statute of limitations on the date

                       this agreement is signed. Notwithstanding the subsequent expiration of

                       the statute oflimitations, in any such prosecution,the defendant agrees to

                       waive any statute-of-limitations defense; and

               c.      Any prosecution, including the prosecution that is the subject ofthis

                       agreement, may be premised upon any information provided, or

                      statements made, by the defendant, and all such information, statements,

                      and leads derived therefrom may be used against the defendant. The

                      defendant waives any right to claim that statements made before or after

                      the date ofthis agreement,including the statement offacts accompanying

                      this agreement or adopted by the defendant and any other statements made

                      pursuant to this or any other agreement with the United States, should be

                      excluded or suppressed under Fed. R. Evid. 410, Fed. R. Crim. P. 11(f),

                      the Sentencing Guidelines or any other provision ofthe Constitution or

                      federal law.


       Any alleged breach ofthis agreement by either party shall be determined by the Court in

an appropriate proceeding at which the defendant's disclosures and documentary evidence shall

be admissible and at which the moving party shall be required to establish a breach ofthe plea

agreement by a preponderance ofthe evidence. The proceeding established by this paragraph

does not apply, however, to the decision ofthe United States whether to file a motion based on

"substantial assistance" as that phrase is used in Rule 35(b)ofthe Federal Rules of Criminal

Procedure and Section 5K1.1 ofthe Sentencing Guidelines and Policy Statements. The


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 defendant agrees that the decision whether to file such a motion rests in the sole discretion ofthe

 United States.


        18.       Nature of the Agreement and Modifications

        This written agreement constitutes the complete plea agreement between the United

 States, the defendant, and the defendant's counsel. The defendant and the defendant's attorney

 acknowledge that no threats, promises, or representations have been made,nor agreements

 reached, other than those set forth in writing in this plea agreement,to cause the defendant to

 plead guilty. Any modification ofthis plea agreement shall be valid only as set forth in writing

in a supplemental or revised plea agreement signed by all parties.

                                              G.Zachary Terwilliger
                                              United States Attomey



                                       By:
                                              William D. Muhr
                                              V. Kathleen Dougherty
                                              Assistant United States Attorneys




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 Defendant's Signature: I hereby agree that I have consulted with my attorney and fully

 understand all rights with respect to the pending criminal information. Further, I fully

 understand all rights with respect to Title 18, United States Code, Section 3553 and the

 provisions ofthe Sentencing Guidelines Manual that may apply in my case. I have read this plea

 agreement and carefully reviewed every part of it with my attorney. I understand this agreement

 and voluntarily agree to it.



 Date:          ^
          '             GARYATmRTMAN
                        Defendant



Defense Counsel Signature: I am counsel for the defendant in this case. I have fully explained to

the defendant the defendant's rights with respect to the pending criminal information. Further, I

have reviewed Title 18, United States Code, Section 3553 and the Sentencing Guidelines

 Manual, and I have fully explained to the defendant the provisions that may apply in this case. I

have carefully reviewed every part ofthis plea agreement with the defendant. To my knowledge,

the defendant's decision to enter into this agreement is an informed and volimtary one.



Date:
                        Lawrence H. Woodward,Jr.
                        Counsel for the Defendant




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                                          U. S. DEPARTMENT OF JUSTICE
                                        Statement ofSpecial Assessment Account

   This statement reflects your special assessment only. There may be other penalties imposed at sentencing.

                                             ACCOUNT INFORMATION

CRIM. ACTION NO.:                         Criminal No. 2:19cr48

DEFENDANT'S NAME:                         GARY A. HARTMAN

PAY THIS AMOUNT:                         $100.00


   INSTRUCTIONS:


           1.         MAKE CHECK OR MONEY ORDER PAYABLE TO:
                      CLERK, U.S. DISTRICT COURT

           2.         PAYMENT MUST REACH THE CLERK'S OFFICE BEFORE YOUR SENTENCING
                      DATE


                      PAYMENT SHOULD BE SENT TO:


                                           In person(9 AM to 4PM)                 By mail:
     Alexandria cases:                                             Clerk, U.S. District Court
                                                                    401 Courthouse Square
                                                                     Alexandria, VA 22314

     Richmond cases:                                               Cierk, U.S. District Court
                                                               701 East Broad Street, Suite 3000
                                                                     Richmond, VA 23219
     Newport News cases:                                           Clerk, U.S. District Court
                                                                    2400 West Ave,Ste 100
                                                                   Newport News,VA 23607


     Norfolk cases:                                               Cierk, U.S. District Court
                                                                      600 Granby Street
                                                                      Norfolk, VA 23510

          4.       INCLUDE DEFENDANT'S NAME ON CHECK OR MONEY ORDER

          5.       ENCLOSE THIS COUPON TO ENSURE PROPER and PROMPT APPLICATION OF
                   PAYMENT




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